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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

DICK ANTHONY HELLER, et al.               )
                                          )
            Plaintiffs,                   )
                                          )
v.                                        ) Civil Action No. 22-cv-1894 DRF
                                          )
DISTRICT OF COLUMBIA, et al.              )
                                          )
            Defendants.                   )
_________________________________________ )



     MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
          APPLICATION FOR PRELIMINARY INJUNCTION




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                                CHARLES NESBY

                                HELLER FOUNDATION

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Dated: July 11, 2022
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                         IN THE UNITED STATES DISTRICT COURT
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DICK ANTHONY HELLER, et al.               )
                                          )
            Plaintiffs,                   )
                                          )
v.                                        ) Civil Action No. 22-cv-1894 DRF
                                          )
DISTRICT OF COLUMBIA, et al.              )
                                          )
            Defendants.                   )
_________________________________________ )

MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF APPLICATION
                FOR PRELIMINARY INJUNCTION

       Plaintiffs submit this Memorandum of Points and Authorities in Support of their

application to preliminarily enjoin District of Columbia Municipal Regulation (“DCMR”) 24-

2343.1.

I.        Plaintiffs have standing to bring this action.

       To show standing, Plaintiffs must allege a concrete and particularized injury that is either

actual or imminent. Lujan v. Defenders of Wildlife, 504 U.S. 555, 560 (1992). That injury must be

both fairly traceable to the challenged action of the defendants and redressable by the court. Id. at

560-61. Individual Plaintiffs Heller and Nesby plainly meet this standard.

       Plaintiffs here are suffering an immediate and continuing injury because the Defendants by

enforcement of DCMR 24-2343.1 restrict the amount of ammunition they can carry on their person

in exercising their right under the Second Amendment to carry handguns for personal protection

within the District.

       Plaintiffs Heller and Nesby have been issued licenses to carry handguns in public in the

District pursuant to District law. See Exhibit 1 (Declaration of Dick Anthony Heller); Exhibit 2

(Declaration of Charles Nesby). However, DCMR 24-2343.1, adopted by the Chief of the

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Metropolitan Police Department (“MPD”), restricts the amount of ammunition they can carry to

that which would load their carry gun twice, but in no event more than 20 rounds. This limitation

restricts the ability of Plaintiffs to exercise their Second Amendment right to carry a firearm for

personal protection in a way that is not consistent with the nation’s historical tradition. It is

therefore invalid under the test the Supreme Court announced in New York State Rifle & Pistol

Association v. Bruen, 597 U.S. __, Case No. 20-843, slip op. (June 23, 2022) (hereinafter “Bruen”).

       A decision by this court invalidating the District regulation in question and granting the

relief requested in Plaintiffs’ Complaint will redress the injury Plaintiffs are suffering as it will

allow the Plaintiffs to carry the amount of ammunition they consider necessary and prudent to

protect themselves from violent attack. Therefore, Plaintiffs have standing to bring this action.

II.    Plaintiffs are entitled to a preliminary injunction.

       A plaintiff seeking a preliminary injunction must establish four factors: (1) that he is likely

to succeed on the merits; (2) that he is likely to suffer irreparable harm in the absence of

preliminary relief; (3) that the balance of equities tips in his favor; and (4) that an injunction is in

the public interest. Winter v. National Resources Defense Fund, 555 U.S. 7 (2008); The Truth

About Obama v. Federal Election Commission, 575 F.3d 342 (4th Cir. 2009), remanded other

grounds, 130 S.Ct. 237 (2010) (subsequent history omitted). See also Aamer v. Obama, 742 F.3d

1023, 1038 (D.C. Cir. 2014). Each of these factors supports grant of Plaintiffs’ application for a

preliminary injunction.

       A.      Plaintiffs are likely to prevail on the merits.

       As we show below, Plaintiffs are likely to prevail on the merits of their claims because

DCMR 24-2343.1 violates their Second Amendment rights.




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                 1.     The Second Amendment.

       The Second Amendment to the United States Constitution provides: “A well regulated

Militia, being necessary to the security of a free State, the right of the people to keep and bear

Arms shall not be infringed.”

       The Second Amendment protects the People’s fundamental right to keep and carry arms

for self-defense and defense of others in the event of a violent confrontation. Bruen, slip op. (June

23, 2022); District of Columbia v. Heller, 554 U.S. 570 (2008) (hereinafter “Heller”); McDonald

v. Chicago, 561 U.S. 742 (2010); Caetano v. Massachusetts, 577 U.S. 411 (2016) (hereinafter

“Caetono”); Wrenn v. District of Columbia, 864 F.3d 650 (D.C. Cir. 2017) (hereinafter “Wrenn”);

Palmer v. District of Columbia, 59 F.Supp.3d 173 (D.D.C 2014) (hereinafter “Palmer”).

       Arms are “‘weapons of offence, or armour of defence.’ 1 Dictionary of the English

Language 107 (4th ed.). They are anything that a man [or woman] wears for his defense, or takes

into his hands, or uses in wrath to cast at or strike another.’ 1 A New and Complete Law Dictionary

(1771).” Heller, 554 U.S. at 581.

       The Second Amendment extends, prima facie, to all instruments that constitute bearable

arms, even those that were not in existence at the time of the founding. Heller, 554 U.S. at 582;

Caetano, 577 U.S. at 411.

       Pursuant to the Supreme Court’s decision in Bruen, supra, and the DC Circuit’s decision

in Wrenn, supra, the Second Amendment protects the right of law-abiding citizens to carry a

handgun in public for self-protection. A necessary component of the right to carry a firearm is the

right to possess and carry ammunition for that firearm. Otherwise, the firearm would be useless as

a self-defense tool, other than as a clubbing weapon. Cf. Ezell v. City of Chicago, 651 F.3d 684,




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704 (7th Cir. 2011) (“The right to possess firearms for protection implies a corresponding right to

acquire and maintain proficiency in their use...”).

       Under the Second Amendment, the District of Columbia retains the ability presumptively

to regulate consistent with the nation’s historical tradition of firearms regulation, the manner of

carrying arms, including handguns, and may prohibit certain arms in narrowly defined sensitive

places, prohibit the carrying of arms that are not within the scope of Second Amendment’s

protection, such as unusually dangerous arms, and disqualify specific, particularly dangerous

individuals from carrying arms. Bruen, slip. op. at 13-15. See Heller, 554 U.S. at 627; Wrenn, 864

F.3d at 662-63 & n. 5. However, when firearm regulations impinge on the ability of law-abiding

persons to protect themselves and their loved ones, such laws are invalid unless supported by the

text of the Second Amendment or by historical analogues existing at the time of the founding.

Bruen, slip op. at 13-15.

       Given the Supreme Court decisions in Bruen and Heller, The District of Columbia may not

ban the keeping and bearing of arms for self-defense that are not unusually dangerous, deny

individuals the right to carry arms in non-sensitive places, deprive individuals of the right to keep

or carry arms in an arbitrary and capricious manner, or impose regulations on the right to keep and

carry arms that are inconsistent with the Second Amendment and the historical tradition of firearms

regulation in the United States. Bruen, slip op. at 13-15; See Caetano, 577 U.S. 411; Heller v.

District of Columbia, 801 F.3d 264 (D.C. Cir. 2015); Wrenn, 864 F.3d 650; Palmer, 59 F.Supp.3d

173.

       The regulation at issue in this case, DCMR 24-2343.1, runs afoul of the Second

Amendment because it lacks any historical justification, is arbitrary and capricious, and

unnecessarily impinges on the core right of self-protection. Moreover, to the extent there is any



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continuing validity of the interest balancing test the D.C. Circuit adopted in Heller v. District of

Columbia, 670 F.3d 1244 (D.C. Cir. 2011) – and we suggest there is none after Bruen – the

regulation at issue herein is not justified by an articulated compelling or substantial governmental

interest, and lacks sufficient tailoring to achieve whatever governmental interest, if any, might

exist to otherwise support it.

               2.      The statutory scheme.

       Following Palmer’s issuance, the District of Columbia enacted a detailed scheme that

restricted the carrying of handguns to persons who are issued licenses to carry concealed pistols.1

See DC Code Section 22-4504(a) (“No person shall carry within the District of Columbia either

openly or concealed on or about their person, a pistol, without a license issued pursuant to District

of Columbia law, or any deadly or dangerous weapon.”). The MPD Chief was given discretion to

issue carry licenses to persons who could show good cause and otherwise meet detailed eligibility

requirements. See DC Code Section 22-4506(a), which provided:

       The Chief of the Metropolitan Police Department (“Chief”) may, upon the
       application of a person having a bona fide residence or place of business within the
       District of Columbia, or of a person having a bona fide residence or place of
       business within the United States and a license to carry a pistol concealed upon his
       or her person issued by the lawful authorities of any State or subdivision of the
       United States, issue a license to such person to carry a pistol concealed upon his or
       her person within the District of Columbia for not more than 2 years from the date
       of issue, if it appears that the applicant has good reason to fear injury to his or her
       person or property or has any other proper reason for carrying a pistol, and that he
       or she is a suitable person to be so licensed.


1
  DC Code Section 7-2501.01(12) defines the term “pistol” as “any firearm originally designed to
be fired by use of a single hand or with a barrel less than 12 inches in length.” Generally in usage,
the term “pistol” refers to a handgun having one chamber integral with the barrel, making pistols
distinct from the other main type of handgun, the revolver, which has a revolving cylinder
containing multiple chambers. Most handgun experts and dictionaries make a technical distinction
that views pistols as a subset of handguns. Contrary to general usage, the District uses the term to
refer to all handguns, however. For the sake of clarity, this complaint will use the term “handgun”
to refer to both pistols, revolvers and other weapons coming within the term “pistols” as defined
by DC law.
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       Under this provision, some 123 carry licenses were issued between the date of enactment

of Section 22-4506(a), and the decision of the D.C. Circuit in Wrenn. Pursuant to Wrenn, the

District became what is known as a shall issue jurisdiction, meaning that upon meeting objective

qualifications criteria the MPD Chief was required to issue a license to carry a handgun to an

applicant unless the Chief had information indicating the applicant was not a suitable person, such

as presenting a danger to himself or others.2 Such objective criteria includes meeting the

requirement to take 16 hours of classroom training and two hours of range training from an MPD

licensed concealed carry instructor, passing a 50 round shooting test administered by the instructor,

passing a background check, and not being a person prohibited from possessing firearms and

ammunition under federal or District law. See DC Code Section 7-2509.02.

       Based upon MPD’s response to a Freedom of Information Act request as of August 29,

2019, the District had issued 3,339 carry licenses. See MPD Response to FOIA Request, 2019-

FOIA-05038. An October 2021 media report indicated MPD has granted close to 9,000 carry

licenses. See Ramirez, DC residents trying to obtain concealed carry permits seeing lengthy delays

(October 1, 2021), available at https://www.fox5dc.com/news/dc-residents-trying-to-obtain-

concealed-carry-permits-seeing-lengthy-delays.

       The District has adopted strict regulations on the carrying of handguns. For example,

District law substantially limits the locations where handguns may be carried. See DC Code 7-

2509.07. Quoting from Code Section 7-2509.07(a), handguns may not be carried in the following

places or in the following circumstances:




2
 This discretion afforded the Chief by this provision has been subject to abuse. See Whitaker v.
District of Columbia Concealed Pistol License Review Board, Case No. 21-1545, Petition for Writ
of Certiorari (June 7, 2022).
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(1) A building or office occupied by the District of Columbia, its agencies, or
instrumentalities;

(2) The building and grounds, including any adjacent parking lot, of a childcare
facility, preschool, public or private elementary or secondary school; or a public or
private college or university;

(3) A hospital, or an office where medical or mental health services are the primary
services provided;

(4) A penal institution, secure juvenile residential facility, or halfway house;

(5) A polling place while voting is occurring;

(6) A public transportation vehicle, including the Metrorail transit system and its
stations;

(7) Any premises, or portion thereof, where alcohol is served, or sold and consumed
on the premises, pursuant to a license issued under Title 25; provided, that this
prohibition shall not apply to premises operating under a temporary license issued
pursuant to § 25-115, a C/R, D/R, C/H, D/H or caterer license issued pursuant to §
25-113, or premises with small-sample tasting permits issued pursuant to § 25-118,
unless otherwise prohibited pursuant to subsection (b)(3) of this section;

(8) A stadium or arena;

(9) A gathering or special event open to the public; provided, that no licensee shall
be criminally prosecuted unless:

       (A) The organizer or the District has provided notice prohibiting the
           carrying of pistols in advance of the gathering or special event and by
           posted signage at the gathering or special event; or

       (B) The licensee has been ordered by a law enforcement officer to leave the
            area of the gathering or special event and the licensee has not complied
            with the order;

(10) The public memorials on the National Mall and along the Tidal Basin, and any
area where firearms are prohibited under federal law or by a federal agency or
entity, including U.S. Capitol buildings and grounds;

(11) The White House Complex and its grounds up to and including to the curb of
the adjacent sidewalks touching the roadways of the area bounded by Constitution
Avenue, N.W., 15th Street, N.W., H Street, N.W., and 17th Street, N.W.;




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(12) The U.S. Naval Observatory and its fence line, including the area from the
perimeter of its fence up to and including to the curb of the adjacent sidewalks
touching the roadway of Observatory Circle, from Calvert Street, N.W., to
Massachusetts Avenue, N.W., and around Observatory Circle to the far corner of
Observatory Lane;

(13)(A) When a dignitary or high-ranking official of the United States or a state,
local, or foreign government is moving under the protection of the MPD, the U.S.
Secret Service, the U.S. Capitol Police, or other law enforcement agency assisting
or working in concert with MPD, within an area designated by the Chief, the Chief
of the U.S. Secret Service, or the Chief of the U.S. Capitol Police, or a designee of
any of the foregoing, that does not include any point at a distance greater than 1,000
feet from the moving dignitary or high-ranking official; provided, that no licensee
shall be criminally prosecuted unless:

       (i) The law enforcement agency provides notice of the designated area by
       the presence of signs, law enforcement vehicles or officers acting as a
       perimeter, or other means to make the designated area of protection
       obvious;

       (ii) The District or federal government has provided notice prohibiting the
       carrying of pistols along a designated route or in a designated area in
       advance of the event, if possible, and by posted signage along a route or in
       a designated area; or

       (iii) The licensee has been ordered by a law enforcement officer to leave the
       designated area and the licensee has not complied with the order.

(B) For the purposes of this paragraph, the term “moving” shall include any planned
or unplanned stops, including temporary stops, in locations open to the public.

(14) When demonstration in a public place is occurring, within an area designated
by the Chief or his or her designee, or other law enforcement agency, that does not
include any point at a distance greater than 1,000 feet from the demonstration;
provided, that no licensee shall be criminally prosecuted unless:

       (A) The law enforcement agency provides notice of the designated area by
       the presence of signs, law enforcement vehicles or officers acting as a
       perimeter, or other means to make the designated area of the demonstration
       obvious;

       (B) The District or federal government has provided notice prohibiting the
       carrying of pistols along or within a demonstration route or designated area
       in advance of the event, if possible, and by posted signage along a
       demonstration route or designated area; or



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               (C) The licensee has been ordered by a law enforcement officer to leave the
               designated area and the licensee has not complied with the order; …

       (15) Any prohibited location or circumstance that the Chief determines by rule;
       provided, that for spontaneous circumstances, no criminal penalty shall apply
       unless the licensee has notice of the prohibition and has failed to comply.

       In addition, D.C. Code Section 7-2509.07(b)(1) provides that carrying a handgun into the

residence of another is presumed prohibited unless authorized in advance by the owner or person

in control of the property. D.C. Code Section 7-2509.07(b)(1). A similar provision presumes that

carrying a handgun into a house of worship is prohibited unless signage allows it, or the licensee

is given permission personally in advance. DC Code Section 7-2509.07(b)(2). Under DC Code

Section 7-2509.07(b)(3), it is presumed that a licensee has permission to carry in and on other non-

residential property unless conspicuous signage prohibits handgun carry or the licensee has been

personally told not to carry on the property.

       These are so-called sensitive places regulations. In dicta, Heller designated schools and

government building as presumptively sensitive areas where carrying of firearms could be

restricted. Heller, 554 U.S. at 626. See also Bruen, slip op. at 26. In U.S. v. Class, 930 F.3d 460,

463 (D.C. Cir. 2019) the court noted that “A challenger may rebut this presumption by ‘showing

the regulation [has] more than a de minimis effect upon his right’ to bear arms. Heller[v. District

of Columbia], 670 F.3d [1244,] 1253 [D.C. Cir. 2011].”

       The District requires that pistol carry licensees must carry their guns fully concealed.

DCMR 24-2344.1 states: “A licensee shall carry any pistol in a manner that it is entirely hidden

from view of the public when carried on or about a person, or when in a vehicle in such a way as

it is entirely hidden from view of the public.”

       Moreover, pursuant to DC Code Section 7-2509.11(2), the MPD Chief was authorized to

promulgate rules “To establish the type and amount of ammunition that may be carried concealed

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by a licensee” holding a concealed pistol license. The Chief did so via DCMR 24-2343. DCMR

24-2343.2 prohibits the carrying of restricted pistol ammunition, otherwise known as armor

piercing ammunition which is illegal to possess in the District. See DC Code Sections 7-2506.01(3)

and 7-2501.01(13)(A)(A) (defining restricted pistol bullet). Plaintiffs do not challenge this

regulation, DCMR 24-2343.2.

          Plaintiffs do challenge DCMR 24-2343.1. As originally adopted via a Notice of Emergency

and Proposed Rulemaking (“Emergency Notice”) on October 31, 2014, this regulation provided,

“A person issued a concealed carry license by the Chief, while carrying the pistol, shall not carry

more ammunition than is required to render the pistol fully loaded, and in no event shall that

amount be greater than ten (10) rounds of ammunition.” See N0050304, 61 DRC 11519. The

emergency regulation was adopted without any discussion of the substance of this particular

regulation or justification of the limitations set forth therein.3 Apparently, it was the arbitrary

determination of the Chief.




3
    The Emergency Notice did state without specifically identifying that,

          [s]ome of the standards the Chief will use to consider license applications were
          established in the Act by the Council of the District of Columbia (Council). The
          Council derived the standards found in similar “may issue” handgun licensing or
          permitting schemes in the States of Maryland (good and substantial reason
          standard), New Jersey (justifiable need standard), and New York (proper cause
          standard). All of these schemes have been sustained as constitutional by U.S.
          Courts of Appeals. Additionally, some of the standards in these regulations have
          been adapted from the above states and earlier MPD regulations. Many of the
          application and investigation procedures were adapted from Maryland regulations.

As we discuss herein, neither New York, New Jersey nor Maryland law contains an analog to
DCMR 24-2343.1. Indeed, it is apparent that DCMR 24-2343.1 has no analog among the laws of
any state in the union nor does any historical analog exist to justify this regulation. As such, it fails
Second Amendment scrutiny. Bruen, slip op. at 13-15.

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       Subsequently on March 6, 2015, the Chief issued a Notice Of Second Emergency And

Proposed Rulemaking, N0051986, 62 DCR 2803, which without comment or explanation, doubled

the allowable ammunition a concealed pistol licensee could carry on his person. This regulation

read, “A person issued a concealed carry license by the Chief, while carrying the pistol, shall not

carry more ammunition than is required to fully load the pistol twice, and in no event shall that

amount be greater than twenty (20) rounds of ammunition.”

       The Chief adopted the final rule via a Notice of Final Rulemaking, N0054222, 62 DCR

9781, issued July 17, 2015, again without comment or explanation regarding DCMR 24-2343.1,

which was unchanged from the second emergency proposed rulemaking.

               3.     The challenged regulation lacks support from the nation’s historical
                      tradition of firearms regulation and is more than a de minimis burden on
                      armed self-defense; it thus violates the Second Amendment.

       Bruen, Heller and Wrenn require us to evaluate firearms regulations in light of the text,

history and tradition of the Second Amendment. Bruen, slip op. at 13-15; Heller, 554 U.S. at 576-

628; Wrenn, 864 F.3d at 657-61. See also Moore v. Madigan, 702 F.3d 933, 935-37 (7th Cir.

2012), reh’g en banc denied, 708 F.3d 901 (7th Cir. 2013). There appears to be nothing in the text,

history or tradition of the Second Amendment or the nation’s historical tradition of firearms

regulation that supports limiting the amount of ammunition a person may carry for his or her self-

defense.




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                       a.      DCMR 24-2343.1 is a substantial burden on Plaintiffs’ right of
                               armed self-defense.

        As stated above, District regulations require pistol carry licensees to carry their firearms

fully concealed. Violation of this regulation is grounds for revocation of the carry license and

carries a potential criminal penalty. See D.C. Code Section 7-2509.10(a)(1).4

        Smaller, lower capacity handguns are substantially easier to conceal than larger, higher

capacity handguns, especially for women who generally have differing clothing considerations

than do men. See generally, Concealed Carry Corner: Small Guns – The Good, The Bad and the

Ugly,      The      Firearms       Blog       (November        19,      2019),       available      at

https://www.thefirearmblog.com/blog/2019/11/21/concealed-carry-corner-micro-guns-the-get-to-

my-gun-gun/. Because of this, smaller handguns are popular among persons holding District

concealed pistol licenses. See Declaration of MPD Licensed Firearm Instructor Mark A. Briley.

Various manufacturers specifically market small pistols for the concealed carry community,

Exhibit 3, hereto. See also Top Smallest Pistols on Brownells (April 27, 2022), available at

https://thegunzone.com/top-smallest-pistols-on-brownells/;5 Fitzpatrick, The Best Concealed




4
  The ramifications of violating the requirement that the firearm must be fully concealed are
enormous. The District of Columbia Code provides for a potential jail term of up to six months
and a fine of up to $1000 for such violation. See D.C. Code Sections 7-2707.06(a) and 22-
3571.01(b)(4). Moreover, conviction “in any jurisdiction of any law which involves the sale,
purchase, transfer in any manner, receipt, acquisition, possession, having under control, use, repair,
manufacture, carrying, or transportation of any firearm, ammunition, or destructive device” is
defined as a “weapons offense.” D.C. Code Section 7-2501.01(18). Conviction of a weapons
offense–with very minor exceptions not pertinent here–by a DC resident renders that person
ineligible for life to register or carry a firearm, thus stripping him of his firearms rights in the
District. See D.C. Code Section 7-2502.03(a)(2). Under such circumstances, no DC conceal carrier
is likely to intentionally expose his firearm and risk losing his firearms rights in the District. We
note that MPD actively enforces this provision.
5
  Among the firearms mentioned in the article are: the Kahr P380 with a capacity of 7 rounds, 6 in
the magazine and 1 in the chamber; the Glock 42, 6+1 capacity; Colt Mustang, 6+1 capacity; M&P
                                              12
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Carry    Handguns     in   2021,    American        Firearms   (January   29,   2021),   available   at

https://www.americanfirearms.org/best-concealed-carry-guns/.6

        The regulation here at issue limits a licensed concealed carrier to the amount of ammunition

that would load his or her gun twice, but no more than 20 rounds total. The regulation at issue

unduly burdens the self-defense rights of Plaintiffs and other persons possessing a District of

Columbia concealed pistol license. The burden is particularly harsh as to persons like the Plaintiffs

in this case, who choose to carry smaller, more concealable firearms which hold a small amount

of ammunition by virtue of their small size. Nonetheless the even were the Plaintiffs carrying full-

size pistol, the ammunition limit burdens the exercise of their Second Amendment right to armed

self-defense.

        There are two ways to stop a deadly force attack. The first is to persuade the attacker to

stop. This could potentially be accomplished through verbal persuasion such as an appeal to

morality and humanity; however, in the real world once someone has committed to the use of

deadly force in the commission of a violent crime, he is not likely to be talked out of it. A more

likely means of persuasion is the threat or application of deadly force in response. Hence, most

crimes which are stopped by armed citizens do not require the firing of a single shot. Similarly, an

assailant who has been shot at or hit may decide he has made a grievous error in the victim selection

process and break off the attack.




Shield, 8+1 capacity; Diamondback Arms DB380, 6+1 capacity; Kel-Tec PF-9, 7+1 capacity;
Beretta Nano, 6+1 capacity; and Tauris 709FS, 7+1 capacity.

6
 In addition to many of the guns discussed in note 4, supra, the article mentions: the Ruger
LCP II, 6+1 capacity; the Ruger LCR, a 5 shot revolver; the Smith & Wesson Airweight,
also a 5 shot revolver; Walther PPK, 6+1 capacity; and PPK/s, 7+1 capacity.
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       Not all criminals, however, are persuadable. To stop those criminals, it is necessary to

incapacitate them before they cause serious bodily harm or death. This can be done by causing

sufficient trauma and blood loss so that the attacker loses the ability to inflict harm. Handgun

bullets, however, are rather weak for this purpose as has been documented by numerous officer

involved and civilian shootings.

       For example, Jacksonville, Florida Police Officer Jared Reston fired 14 shots in attempting

to defend against a shoplifter who tried to murder him. The assailant carried a .45 caliber handgun,

which shoots one of the larger pistol rounds. The perpetrator shot Reston in the face and then

proceeded to fire 11 more rounds at him, six of which struck Reston, who survived the gun fight.

Reston managed to shoot the suspect seven times, ending the fight with a final shot to the head.

See Wallace, Shots Fired: Jared Reston Survival and Gear, Recoil Magazine (December 6, 2019),

available at https://www.recoilweb.com/shots-fired-jared-reston-survival-gear-154993.html. See

also Purkiss, Locked Back, Lessons from Jared Reston’s Gun Fight – Shot 7 Times & Still Won

(December 20, 2017), available at https://lockedback.com/lessons-jared-restons-gunfight-shot-7-

times-still-won/.

       Noted police and civilian firearms instructor and frequent expert witness in the use of force

Massad Ayoob illustrates this point with two shooting incidents, one involving a civilian and one

involving a law enforcement officer:

       Famed Los Angeles watch shop owner Lance Thomas was involved in multiple gun
       battles with armed robbers, winning every one. In one of those incidents, he had to
       fire 19 rounds before the last of his multiple opponents was out of the fight. Some
       bad guys can soak up an unbelievable amount of lead, and the cunning ones run
       and use cover, making them harder to hit and requiring more shots to stop them.

       A municipal police sergeant in northern Illinois, Tim Gramins, comes to mind. He
       pulled over a heavily armed suspect who came out shooting, and the fight was on.
       In just under a minute, the perpetrator was finally down and dead. During that time,
       Gramins had fired 33 rounds from his Glock 21 pistol, reloaded as necessary and

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         hit his opponent 14 times with 230-grain Gold Dot .45 bullets. Six of those hits
         were in what most of us would call “vital zones,” but the fight wasn’t over until
         Gramins finally had the opportunity for brain shots. During that fight the suspect
         had gone through two semi-automatic pistols himself and had fired 21 shots.

Ayoob, 5 Gun Fighting Myths Debunked by Massad Ayoob, Personal Defense World (October 14,

2014),     available    at      https://www.personaldefenseworld.com/2014/10/5-gunfighting-myths-

debunked-massad-ayoob/.

         Wisconsin police officer Brian Murphy was shot 15 time by a mass murdering white

supremacist. Only three of those rounds were stopped by his body armor. Other shots hit him in

the face, throat, both hands, both arms and both legs. Despite these grievous injuries, he survived.

See Ayoob, Shot 15 Times: The Brian Murphy Story, American Handgunner (2018), available at

https://americanhandgunner.com/our-experts/shot-15-times-the-brian-murphy-story/.

         In commenting on another incident in which a suspect was shot 17 times with both .40

caliber 180 Gr. Gold Dot hollow point pistol rounds and .223 Hornady TAP rifle rounds and was

still struggling with police as he was being handcuffed, a report by the FBI’s Defensive Systems

Unit – Ballistic Research Facility, FBI Academy, stated, “Determined individuals can sustain

many gunshot wounds in areas that produce great pain and continue to fight a long time, even

without the aid of drugs or alcohol. Shot placement is everything in a gunfight and always the key

to   stopping    a     threat    effectively.”   FBI,   Officer   Involved   Shooting,   available   at

https://info.publicintelligence.net/FBIAAROfficerShooting.pdf. In that gun fight, two officers

fired a total of 107 rounds. The suspect fired 26 rounds, reloading his magazine from a box of

loose ammunition. Id.

         Perhaps one of the more influential gun fights, which has since profoundly influenced

doctrine on gun and ammunition selection, is the 1986 FBI Miami shootout. See generally,

Mireles, FBI Miami Firefight: Five Minutes that Changed the Bureau (2017). In that incident two

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bank robbers shot it out with a team of FBI agents. “Early in the fight, a bullet from [FBI agent

Jerry] Dove’s 9 mm pistol pierced the opposing rifleman’s arm and into his chest, slicing an artery

and inflicting a ‘fatal, but not immediately neutralizing’ hit when it stopped short of his heart. It

was after that, that he [the bank robber] inflicted most of the deadly damage.” Ayoob, A Sad And

Meaningful Anniversary, Backwoods Home Magazine (April 11, 2016), available at

https://www.backwoodshome.com/blogs/MassadAyoob/a-sad-and-meaningful-anniversary/. The

assailant would go on to take multiple hits from the agents’ guns until Agent Edmundo Mireles

killed him with a shot to the head. Two FBI agents died in that gun fight and five others were

seriously wounded.

       These various incidents and many others present the reality of firearms and ammunition

count in self-defense. One can never know how many rounds are sufficient to stop a determined

opponent. Even a shot in the face is no guarantee that it will incapacitate an opponent.7 In a video

presentation, Officer Reston explained that on his Jacksonville, Florida Department, he and two

other officers had been shot in the face but went on to prevail against their assailants. See Reston,

Winning      an      Armed       Encounter        (December      4,     2017),      available      at

https://www.youtube.com/watch?v=jIx0Y25aTfU.

       The Chief’s rule imposes a severe and substantial infringement on the ability of Plaintiffs

to use their preferred self-defense firearms for the lawful protection of themselves and others. This

is especially the case in which a licensed conceal carrier may be set upon by multiple assailants as




7
 Head shots are generally considered to be fight stoppers because a shot to the brain likely will
shut down the attacker. By definition, a head shot is a small target compared to a center mass shot
and requires considerably more skill in a life-or-death situation. See, e.g., Than, Gunshot Wound
Head Trauma (undated), available at https://www.aans.org/en/Patients/Neurosurgical-Conditions-
and-Treatments/Gunshot-Wound-Head-Trauma.


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is often the case for residents of those neighborhoods in the District where gangs are prevalent.

See, e.g., Johnston, Wolfpack-Multiple Assailants, Police Law Enforcement Solutions (November

1,     1996),      available      at     https://www.policemag.com/338649/wolf-pack-multiple-

assailants#:~:text=There%20is%20considerable%20empirical%20evidence%20to%20support%2

0the,can%20result%20in%20serious%20bodily%20injury%20or%av20death. See also Samson, 4

arrested, including 15-year-old, for brutal attack on Chinese PhD student near UW-Madison,

Yahoo News (June 21, 2022), available at https://news.yahoo.com/4-arrested-including-15-old-

174154164.html?fr=sycsrp_catchall; Ayoob, Lead and diamonds: the Richmond jewelry store

shootout.         (The           Ayoob             Files)       (2003),          available          at

https://www.thefreelibrary.com/Lead+and+diamonds%3A+the+Richmond+jewelry+store+shoot

out.+(The+Ayoob...-a099130342.

       The District places Plaintiffs in the predicament of choosing smaller and typically less

efficient handguns because of their concern with the requirement to fully conceal their handguns.

But smaller guns are equally subject to the limit on ammunition. Plaintiff Heller is limited by

DCMR 24-2343.1 to only 12 rounds for his six-shot revolver, six in his gun and another six to

reload the gun one time. Plaintiff Nesby is limited to 14 rounds for his Springfield XDS, which is

deemed subcompact by the firearms industry. By contrast, someone carrying a larger less

concealable firearm such as a Glock 17, 19 or 26 may carry a total of 20 rounds. Plaintiffs can

contemplate no rational basis why the capacity of ones gun should determine the amount of

ammunition he or she can carry to protect his or her life. And of course, rational basis is not the

test for the Constitutionality of restrictions on Second Amendment freedoms. See Bruen, slip op.

at 13-15. The Chief’s rule is simply arbitrary, as is the ultimate limit of 20 rounds which Plaintiffs

Heller and Nesby cannot carry due to the limited capacity of their chosen concealable handguns.



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       We note that District police officers are mandated to carry 52 rounds in their Glock 17

pistols for their self-defense when on duty: one in the chamber, a full magazine of 17 rounds, and

two additional full 17 round magazines.8 What is good for MPD officers, however, is forbidden to

the DC residents and out of state persons who hold DC concealed pistol license holders. See MPD

General Order RAR-901.01 at 4 (June 12, 2008). Yet, DC concealed carry license holders have

undergone rigorous training and background checks, which are among the more demanding

requirements in the country. Further license holders, virtue of their conscientiousness choose these

smaller handguns not for the sake of their own defense, but in an effort to fully comply with the

District’s laws.

                       b.      DCMR 24-2343.1 lacks any foundation in the nation’s historical
                               tradition of firearms regulation.

       Plaintiffs are unaware of any founding era limitations on the amount of ammunition a

person could carry to defend himself from an assailant. Certainly, the Chief pointed to no such

traditional limit in prescribing a 20 round/one reload limitation in any of the proposed rulemakings

or in the final rule adopting DCMR 24-2343.1.

       What regulations did exist around the time of the founding of the Second Amendment

required Americans to be armed and required militia members to be equipped with a minimum

amount of ammunition. Section 1 of The Second Militia Act required,

       That every citizen so enrolled and notified, shall, within six months thereafter,
       provide himself with a good musket or firelock, a sufficient bayonet and belt, two
       spare flints, and a knapsack, a pouch with a box therein to contain not less than


8
  Unlike MPD officers, District carry license holders are limited to 10 round low-capacity
magazines, rather than the standard capacity magazines that come stock with most semi-automatic
pistols such as the Glock 17 (17 round capacity standard magazine) or the Glock 19 (15 round
capacity standard magazine). This limitation raises grave Constitutional issues as well, but it is not
the focus of this action. But see Duncan v. Becerra, 970 F.3d 1133 (9th Cir. 2020), vacated and
reversed en banc (Nov. 30, 2021), vacated and remanded sub nom, Duncan v. Bonta, 597 U.S. __,
Case No. 21-1194 (June 30, 2022).
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       twenty-four cartridges, suited to the bore of his musket or firelock, each cartridge
       to contain a proper quantity of powder and ball: or with a good rifle, knapsack,
       shot-pouch and powder-horn, twenty balls suited to the bore of his rifle, and a
       quarter of a pound of powder; and shall appear, so armed, accoutred and provided,
       when called out to exercise, or into service, except, that when called out on
       company days to exercise only, he may appear without a knapsack.

Militia Act of 1792 (May 8, 1792).

       As the Supreme Court held in Heller, the militia consisted of able-bodied citizens capable

of taking up arms to defend the nation. 554 U.S. at 580. Nothing appears to have limited a militia

member from possessing more than the minimum amount of required ammunition. And nothing

in the Militia Act purports to limit the amount of ammunition a militia member could carry outside

of militia service. Beyond the Second Militia Act we are aware of no history or tradition of limiting

the amount of ammunition that the people may carry for their self-defense. Certainly, the MPD

Chief pointed to none in adopting the regulation in question.

       Hunting regulations often restrict the number of shotgun shells or rifle rounds allowable in

a firearm’s magazine when the owner is hunting with the firearm. However, these are conservation

regulations designed to prevent overhunting. As one commentator has explained it,

       At the behest of […] hunters, laws were passed to better regulate hunting in the
       United States. Laws created bag limits, possession limits, sectioned off certain plots
       of land as refuges for birds. This is also where we got laws banning the sale of wild
       game meat (if you have a source of venison that you purchase, it is from a farm.

       One set of game laws that rose out of that early movement was magazine capacity
       limits. The idea was that a recreational hunter would only kill one or two birds out
       of a flock, it wasn’t considered sporting to blast dozens of ducks out of the water.
       Limiting shotguns to 10 gauge and smaller with only few shells played a big part
       in ending market hunting for birds.

       Many laws and hunting etiquette from those early days has carried over into the
       21st Century. One such law is shotgun magazine capacity. In 1935 the first federal
       law restricting waterfowl hunters to three shots was enacted. As it happened,
       waterfowl populations began to rebound after an all-time low in the mid-30’s.




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Willmus, Why Shotguns Have Plugs (Plus the laws you need to know), Backfire (November 3,

2021),               available               at              https://backfire.tv/why-shotguns-have-

plugs/#:~:text=Plugs%20are%20used%20in%20shotguns%20to%20limit%20the,varies%20depe

nding%20on%20the%20gauge%20and%20magazine%20length.

         Plainly, these types of modern hunting regulations have no nexus to the Second

Amendment’s core protection of armed self-defense; nor are they of founding era vintage as Bruen

requires. See Bruen, slip op. at 30 (“[W]hen it comes to interpreting the Constitution, not all history

is created equal. ‘Constitutional rights are enshrined with the scope they were understood to have

when the people adopted them.’ Heller, 554 U.S., at 634-635.”) Since no historical analog exists

for limiting the amount of ammunition that can be carried for self-defense, the District’s limitation

as set forth in DCMR 24-2343.1 is categorically unconstitutional. See Bruen, slip op. at 67.

         Further evidence that limiting the amount of ammunition one may carry to defend oneself

and others is lacking in the nation’s historical tradition of firearms regulation is that no other

jurisdiction that we can find has imposed a regulation similar to that which the Chief has imposed

on District pistol carry license holders. Thus, the outlier status of this regulation further

demonstrates its Constitutional weakness. See Bruen, slip op. at 68; Id. at 78 & 79 (Kavanaugh, J.,

concurring). See also Drummond v. Robinson Twp., No. 20-1722, 2021 U.S. App. LEXIS 24511,

at *22 (3d Cir. Aug. 17, 2021).

         In Heller, the Supreme Court eschewed balancing tests for evaluating the Constitutionality

of regulations burdening the Second Amendment. Heller, 554 U.S. at 576-627. The just recently

released Bruen decision makes it abundantly clear as to the Constitutional test for governmental

restrictions on Second Amendment conduct, and the District cannot meet this test with respect to

the regulation here at issue:



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       We reiterate that the standard for applying the Second Amendment is as follows:
       When the Second Amendment's plain text covers an individual's conduct, the
       Constitution presumptively protects that conduct. The government must then justify
       its regulation by demonstrating that it is consistent with the Nation's historical
       tradition of firearm regulation. Only then may a court conclude that the individual's
       conduct falls outside the Second Amendment's “unqualified command.”
       Konigsberg [v. State Bar of California], 366 U.S., [36,] 50, n. 10 [(1961)].

Bruen, slip op. at 20 (2022).

       Accordingly, it would be error for the Court to evaluate the regulation at issue under the

means-end tiers of scrutiny approach Bruen rejects. Id. at 15. Nonetheless, the regulation at issue

fails both strict scrutiny as well as the intermediate scrutiny test Heller specifically rejected. See

Heller, 554 U.S. at 634. See also Heller v. District of Columbia, 670 F.3d at 1277 (Kavanaugh, J.,

dissenting). The MPD Chief pointed to no compelling or significant governmental interest in

adopting the limitation on the amount of ammunition that may be carried by a licensed pistol

carrier, and of course he set forth no discussion of potential alternative schemes to meet any such

governmental interest which would be a lesser burden on Second Amendment rights. In any event,

any such interest that the government could point to justify DCMR 24-2343.1 is outweighed by

the burden it imposes on the Second Amendment right of self-defense. For these reasons even if

means-ends scrutiny applied – and Bruen specifically says it does not – the challenged regulation

cannot stand.

       In light of the foregoing discussion, Plaintiffs clearly are likely to prevail on the merits in

this action. No historical tradition exists of limiting the amount of ammunition a person may carry

for his or her self-defense. In the absence of such a historical tradition, DCMR 24-2343.1 is

unconstitutional. Bruen, slip op. at 13-15, 20.




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       B.      Plaintiffs will continue to suffer irreparable harm in the absence of preliminary
               relief.

       Having demonstrated that Plaintiffs are likely to prevail on the merits, we turn to whether

Plaintiffs will suffer irreparable harm unless an injunction issues. See Winter v. NRDC, 555 U.S.

at 22. The irreparable harm inquiry requires the court to assume Plaintiffs have demonstrated a

likelihood of success on the merits and then to ask, “whether that violation, if true, inflicts

irremediable injury.” Chaplaincy of Full Gospel Churches v. England, 454 F.3d 290, 303 (D.C.

Cir. 2006) (hereinafter “Chaplaincy”). Plainly here Plaintiffs are suffering irreparable injury.

       Where the defendant’s actions violate the plaintiff’s constitutional rights the requirement

of “irreparable injury” is satisfied. As the D.C. Circuit has explained, “[s]uits for declaratory and

injunctive relief against the threatened invasion of a constitutional right do not ordinarily require

proof of any injury other than the threatened constitutional deprivation itself.” Gordon v. Holder,

721 F.3d 638, 653 (D.C. Cir. 2013) (brackets omitted) (hereinafter “Gordon”) (quoting Davis v.

District of Columbia, 158 F.3d 1342, 1346 (D.C. Cir. 1998)). Thus, “although a plaintiff seeking

equitable relief must show a threat of substantial and immediate irreparable injury, a prospective

violation of a constitutional right constitutes irreparable injury for these purposes.” Id. (brackets

omitted) (quoting Davis, 158 F.3d at 1346). See also Berg v. Glen Cove City School District, 853

F.Supp. 651 (E.D.N.Y. 1994); Doe v. Shenandoah County School Board, 737 F.Supp. 913

(W.D.Va. 1990); Joynes v. Lancaster, 553 F.Supp. (M.D.N.C. 1982).

       The principle that the violation of a constitutional right by itself constitutes irreparable

harm derives from the Supreme Court’s decision in Elrod v. Burns that “[t]he loss of First

Amendment freedoms, for even minimal periods of time, unquestionably constitutes irreparable

injury.” 427 U.S. 347, 373 (1976). As the Seventh Circuit has explained in the context of a Second

Amendment challenge:

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       The loss of a First Amendment right is frequently presumed to cause irreparable
       harm based on the intangible nature of the benefits flowing from the exercise of
       those rights; and the fear that, if those rights are not jealously safeguarded, persons
       will be deterred, even if imperceptibly, from exercising those rights in the future.

Ezell v. City of Chicago, 651 F.3d at 699 (internal quotation marks omitted). The Second

Amendment also protects “intangible and unquantifiable interests.” Id. Indeed, its “central

component is the right to possess [arms] for protection,” and violations of that right plainly “cannot

be compensated by damages.” Id. Thus, for violations of Second Amendment rights, as for

violations of First Amendment rights, “irreparable harm is presumed.” Id.

       For these reasons, law-abiding citizens like Plaintiffs suffer irreparable harm each day they

are subjected to the restrictions of DCMR 24-2343.1. The allegation of the violation, without more,

satisfies the irreparable injury requirement. Even if Plaintiffs were required to establish a

likelihood that the defendants’ ammunition restriction will “chill” their exercise of constitutionally

protected conduct, see Chaplaincy, 454 F.3d at 299, they have satisfied this requirement by

declaring that, but for the challenged regulations, they would regularly carry an amount of

ammunition in excess of that which is allowed by DCMR 24-2343.1 See Exhibits 1-2.

       Each day that the unconstitutional regulation continues in force, Plaintiffs risk physical

injury because they are unable to fully exercise their Second Amendment right to self-defense

using arms and an amount of ammunition of their choice. Of course, that injury cannot be

compensated adequately through money damages. See Ezell, 651 F.3d at 699. For example, each

day DCMR 24-2343.1 remains in effect, Plaintiffs lack the security of knowing they have available

an effective self-defense tool with sufficient ammunition to handle assault by multiple assailants.

       C. The balance of equities tips overwhelmingly in Plaintiffs’ favor.

       The equities weigh strongly in Plaintiffs’ favor. Plaintiffs continue to suffer an ongoing

violation of their constitutional rights, and this ongoing violation constitutes irreparable injury.

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The Chief failed to articulate any interest in promulgating DCMR 24-2343.1. Any interest the

District may have in enforcing this regulation is entirely speculative. Moreover, the Second

Amendment itself is the product of interest balancing by the People and leaves no room for the

third branch of government to determine whether the rights it protects are “really worth insisting

upon.” Heller, 554 U.S. at 634 (emphasis in original).

        D.      An injunction is in the public interest.

        For similar reasons, an injunction is also in the public interest. The courts have

acknowledged the “obvious” fact that “enforcement of an unconstitutional law is always contrary

to the public interest.” Gordon, 721 F.3d at 653; K.A. ex rel. Ayers v. Pocono Mountain Sch. Dist.,

710 F.3d 99, 114 (3d Cir. 2013) (“[T]he enforcement of an unconstitutional law vindicates no

public interest.”). Because enforcement of DCMR 24-2343.1 is by definition contrary to the public

interest, the entry of a preliminary injunction serves the public interest as a matter of law.

Moreover, the analysis with respect to the balancing of the equities indicates that the public interest

is served by vindicating citizens’ constitutional rights and affording them an opportunity

effectively to defend themselves from attack, not by perpetuating an unconstitutional and

ineffective restriction on that right.

III.    The Court should waive the bond requirement or set a nominal bond because Defendants
        will suffer no harm from a preliminary injunction.

        Plaintiffs request the court set the bond amount at zero. Federal Rule of Civil Procedure

65(c) provides in relevant part:

        Security. No restraining order or preliminary injunction shall issue except upon the
        giving of security by the applicant, in such sum as the court deems proper, for the
        payment of such costs and damages as may be incurred or suffered by any party
        who is found to have been wrongfully enjoined or restrained.




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       The court has the discretion to set the bond amount “in such sum as the court deems

proper.” Fed. R. Civ. P. 65(c). Consequently, the district court may set the bond amount at zero or

a nominal amount “[w]here [it] determines that the risk of harm is remote, or that the circumstances

otherwise warrant it. Hoechst Diafoil Co. v. Nan Ya Plastics Corp., 174 F.3d 41 1, 421, n.3 (4th

Cir. 1999) (remanding case to district court for determination of appropriate bond amount).

       Courts have set a nominal bond or waived the requirement altogether where, for example:

       (l) the risk of harm to the defendant is remote or nonexistent, SEC v. Dowdell, Civil No.

3:01 cv 00116, 2002 U.S. Dist. LEXIS 19980 at (W.D. Va., Oct. 11, 2002) (setting nominal

$100.00 bond after concluding that the risk of harm to the defendants was minimal);

       (2)      the plaintiff has made a strong showing of likelihood of success on the merits, Ark.

Best corp. v. Carolina Freight Corp., 60 F.Supp.2d 517, 518 (W.D.N.C. 1999) (requiring nominal

$100.00 security bond where plaintiffs made a strong showing of likelihood of success on the

merits);

       (3)      the balance of hardships weighs overwhelmingly in favor of the plaintiff, Temple

Univ. v. White, 941 F.2d 201 (3d Cir. 1991), cert. denied, 502 U.S. 1032 (1992) (requiring no bond

in non-commercial case where the balance of hardships that each party would suffer as the result

of a preliminary injunction weighs overwhelmingly in favor of the party seeking the injunction);

and

       (4)      the case involves enforcement of a public interest, Pharm. Soc. of the State of N.

Y., Inc. v. N. Y. State Dep 't of Soc Servs., 50 F.3d 1 168, 1 174 (2d Cir. 1995) (concluding that “an

exception to the bond requirement has been crafted for cases involving the enforcement of public

interests arising out of ‘comprehensive federal health and welfare statutes’”); Westfield High Sch.

L.I.F.E. Club v. City of Westfield, 249 F. Supp.2d 98, 128, 129 (D. Mass. 2003) (waiving bond



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requirement where plaintiffs submitted affidavits indicating their financial inability to post a

security bond and where plaintiffs were seeking to preserve their rights to free expression and free

exercise of religion).

       Plaintiffs request the court set the bond requirement at zero because Defendants cannot

demonstrate they will suffer any harm from grant of a preliminary injunction. This is a civil rights

case, not commercial litigation. Even if Defendants were ultimately to prevail here, they would

suffer no monetary damage. Indeed, by not enforcing the ordinances at issue, Defendants would

avoid otherwise necessary public expenditure. In fact, Plaintiffs have demonstrated they will suffer

irreparable harm if preliminary relief is not granted. The bond requirement should be waived

because Plaintiffs’ enforcement of important constitutional rights serves the public interest. See

Westfield High Sch. L.I. F. E. Club, 249 F.Supp.2d at 129 (waiving bond requirement after

concluding that plaintiffs' suit to enforce their right to freedom of expression and free exercise of

religion served the public interest). For these reasons, Plaintiffs respectfully request the court set

the bond amount at zero.

IV.    The court should enter final judgment for Plaintiffs.

       The Federal Rules of Civil Procedure permit this court to “advance the trial on the merits

and consolidate it with the hearing” for a preliminary injunction. Fed. R. Civ. P. 65(a)(2). “[W]hen

the eventual outcome on the merits is plain at the preliminary injunction stage, the judge should,

after due notice to the parties, merge the stages and enter a final judgment.” Morris v. District of

Columbia, 38 F.Supp.3d 57, 62 n.1 (D.D.C. 2014) (quoting Curtis 1000, Inc. v. Suess, 24 F.3d

941, 945 (7th Cir. 1994)). The D.C. Circuit employed this procedure in Wrenn. See 864 F.3d at

667.




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       Plaintiffs suggest that unless the District can make an adequate showing of the need to

develop a factual record to support the provisions at issue and that the regulation is supported by

the nation’s historical tradition of firearms regulation, a permanent injunction is appropriate now.

In that regard the court should require the District to identify the specific areas appropriate for

discovery and resolution at trial. In the absence of such issues, the final outcome of this case will

not depend on any facts presented at trial, and no “genuine uncertainty [exists] at the preliminary

injunction stage concerning what that outcome will be.” See Curtis 1000, 24 F.3d at 945.

       Plaintiffs suggest that at this preliminary injunction stage, the court will have all the facts

it needs and only questions of law will remain for resolution. As in Moore v. Madigan, “[t]he

constitutionality of the challenged statutory provisions does not present factual questions for

determination in a trial.” 702 F.3d at 942. To the extent any questions of disputed material fact

exists, those questions involve only “legislative facts” that bear on the justification for legislation,

not “adjudicative facts” that must be determined at trial. Id.

       The Seventh Circuit’s disposition in Moore, involving Illinois’s complete ban on carrying

firearms for personal protection, is particularly instructive here, as that court remanded for entry

of a declaration of unconstitutionality and a permanent injunction upon reversing the district

court’s judgment granting Illinois’s motion to dismiss. See Moore, 702 F.3d at 942. Likewise, here

the court will have all the information it needs to make a final judgment upon conclusion of the

preliminary injunction proceedings. The court should enter final judgment and put an end to the

District’s limitation on the amount of ammunition a concealed carry license holder may carry on

his person.




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V.     Conclusion.

       Plaintiffs have shown they are likely to prevail on the merits of this action. They have

shown they suffer irremediable harm from DCMR 24-2343.1. They have shown the balance of

equities weighs in their favor. They have shown that the public interest favors granting an

injunction. And they have shown that they are entitled to a permanent injunction now. For the

foregoing reasons, the court should preliminarily and permanently enjoin the defendants from

enforcing DCMR 24-2343.1.

                                    Respectfully submitted

                                    DICK ANTHONY HELLER

                                    CHARLES NESBY

                                    HELLER FOUNDATION

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Dated: July 11, 2022




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                                 CERTIFICATE OF SERVICE

       I, George L. Lyon, Jr., a member of the bar of this court, certify that I served the foregoing

document on all counsel of record for defendants through the court’s ECF system, this 11th day of

July, 2022.

                                                     /s/ George L. Lyon, Jr., DC Bar 388678




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